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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )           Case No. 8:05CR144
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                    ORDER
                                               )
ELVIS PATRICK HENRY,                           )
                                               )
                       Defendant.              )


       IT IS ORDERED that, after a hearing on this matter, a jury trial for the defendant, Elvis
Patrick Henry, is scheduled before the undersigned in Courtroom No. 3, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on September 12, 2005, at 8:30 a.m. Since
this is a criminal case, the defendant shall be present, unless excused by the court. If an interpreter
is required, one must be requested by the plaintiff in writing five (5) days in advance of the
scheduled hearing.
       The ends of justice will be served by granting the defendant's request for a continuance, and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
from the date of the status/change of plea hearing to the newly scheduled trial date, namely, July
28, 2005, through September 12, 2005, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act, for the reason that defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of counsel
and the novelty and complexity of this case, and the failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 28th of July, 2005.
                                               BY THE COURT:



                                                s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
